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UNITED STATES DISTRICT COURT
                                                                                                7/1/2025
SOUTHERN DISTRICT OF NEW YORK

__Milosavljevic_et al_________,

                                 Plaintiff[s],                                    25 Civ. 03490 (AT)

              -against-                                                          CIVIL CASE
                                                                            MANAGEMENT PLAN AND
_Casa Cruz 61, LLC dba Casa Cruz et al.,                                     SCHEDULING ORDER

                                 Defendant[s].

ANALISA TORRES, United States District Judge:

        This Civil Case Management Plan (the “Plan”) is submitted by the parties in accordance with Rule
26(f)(3), Fed. R. Civ. P.

1.     All parties (consent) (do not consent) to conducting all further proceedings before a magistrate
       judge, including motions and trial. 28 U.S.C. § 636(c). [Circle one.] The parties are free to
       withhold consent without adverse substantive consequences. [If all parties consent, the remaining
       paragraphs need not be completed.]

2.     This case (is) (is not) to be tried to a jury. [Circle one.]

3.     Amended pleadings may not be filed and additional parties may not be joined except with leave of
       the Court. Any motion to amend or to join additional parties shall be filed within 30 days from the
       date of this Order. [Absent exceptional circumstances, thirty (30) days.]

4.     Initial disclosures, pursuant to Rule 26(a)(1), Fed. R. Civ. P., shall be completed not later than
       14 days from the date of this Order. [Absent exceptional circumstances, fourteen (14) days.]

5.     All fact discovery shall be completed no later than 12/27/25. [A period not to exceed 120 days,
       unless the Court finds that the case presents unique complexities or other exceptional
       circumstances. The Court will not stay discovery pending its decision on any motion.]

6.     The parties are to conduct discovery in accordance with the Federal Rules of Civil Procedure and
       the Local Rules of the Southern District of New York. The following interim deadlines may be
       extended by the written consent of all parties without application to the Court, provided that all fact
       discovery is completed by the date set forth in paragraph 5 above:

       a.     Initial requests for production of documents to be served by 08/29/2025 .
       b.     Interrogatories to be served by 08/29/2025.
       c.     Depositions to be completed by 12/27/25.
       d.     Requests to Admit to be served no later than 11/27/25.
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7.    a.     All expert discovery shall be completed no later than February 10, 2026. [Absent
             exceptional circumstances, a date forty-five (45) days from the date in paragraph 5, i.e. the
             completion of all fact discovery.]

      b.     No later than thirty (30) days prior to the date in paragraph 5, i.e. the completion of all fact
             discovery, the parties shall meet and confer on a schedule for expert disclosures, including
             reports, production of underlying documents and depositions, provided that (i) expert
             report(s) of the party with the burden of proof shall be due before those of the opposing
             party’s expert(s); and (ii) all expert discovery shall be completed by the date set forth in
             paragraph 7(a).

8.    All motions and applications shall be governed by the Court’s Individual Practices, including pre-
      motion conference requirements, except that motions in limine may be made without a pre-motion
      conference on the schedule set forth in paragraph 11. Pursuant to the authority of Rule 16(c)(2),
      Fed. R. Civ. P., any motion for summary judgment will be deemed untimely unless a request for a
      pre-motion conference is made in writing within fourteen (14) days of the date in paragraph 5, i.e.,
      the close of fact discovery.

9.    All counsel must meet face-to-face for at least one hour to discuss settlement within fourteen (14)
      days following the close of fact discovery.

10.   a.     Counsel for the parties have discussed an informal exchange of information in aid of an
             early settlement of this case and have agreed upon the following:
             The parties shall exchange documents as per the Court's June, 18, 2025 referral to
             mediation, as further described in 10(c) below.


      b.     Counsel for the parties have discussed the use of the following alternative dispute resolution
             mechanisms for use in this case: (i) a settlement conference before a magistrate judge; (ii)
             participation in the District’s Mediation Program; and/or (iii) retention of a privately retained
             mediator. Counsel for the parties propose the following alternative dispute resolution
             mechanism for this case:
             This matter was referred to mediation on June 18, 2025.

      c.     Counsel for the parties recommend that the alternative dispute resolution mechanism
             designated in paragraph b, be employed at the following point in the case (e.g. within the next
             sixty days; after the deposition of plaintiff is completed (specify date); after the close of fact
             discovery). Mediation should take place 60 days after the close of the FLSA collective opt-in
             period - or any Court order denying Plaintiffs' motion related to same - so that the parties can
             assess the universe of FLSA Plaintiffs included in the case, and exchanged records necessary
             to calculated their damages in order to have a productive mediation.

      d.    The use of any alternative dispute resolution mechanism does not stay or modify any date in
            this Order.
11.   The Final Pretrial Submission Date is thirty (30) days following the close of fact and expert
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        This ORDER may not be modified or the dates herein extended, except by further order of this Court
for good cause shown. Any application to modify or extend the dates herein (except as noted in paragraph
6) shall be made in a written application in accordance with paragraph I.B. of the Court’s Individual
Practices and shall be made no less than five (5) days prior to the expiration of the date sought to be
extended.

       SO ORDERED.

               July 1, 2025
       Dated: _________________
              New York, New York
